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 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                                     FOR THE DISTRICT OF ARIZONA
10
11 John Doe, a single man,                         Case No.: 2:18-cv-01623-DWL
12
                        Plaintiff,
13                                                 RENEWED UNOPPOSED
     v.                                            MOTION TO SEAL UNREDACTED
14                                                 VERSION OF EXHIBIT 1 TO
15 The Arizona Board of Regents, et al.,           PLAINTIFF’S SUPPLEMENT TO
                                                   MOTION TO EXCLUDE EXPERT
16                      Defendants.                TESTIMONY AND OPINIONS OF
                                                   PETER F. LAKE
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                                                   (Assigned to the Honorable Dominic W.
19                                                 Lanza)
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1           Pursuant to the Court’s October 27, 2021 Order (Dkt. 168), Local Rule 5.6(d) and the
2    Protective Order entered by this Court on September 16, 2019 (Dkt. 59), Plaintiff John Doe
3    and Defendant The Arizona Board of Regents (“ABOR”) have conferred regarding sealing
4    an unredacted version of the Expert Report of Peter F. Lake (the “Report”), Exhibit 1 to the
5    concurrently filed Supplement to Plaintiff’s Motion to Exclude Expert Testimony and
6    Opinions of Peter F. Lake. The Report contains Confidential Information as that term is
7    defined in the Protective Order and should be filed under seal.
8           Specifically, the Report contains information designated as “Confidential” pursuant
9    to the Protective Order because it uses the true names of certain individuals designated
10   under the Protective Order as “Protected Persons” and because it contains information that
11   would reveal Plaintiff’s true identity if publicly filed without redaction.
12          Accordingly, the parties respectfully request the Court enter the attached Proposed
13   Order. Pursuant to the Court’s October 27, 2021 Order (Dkt. 168) and Paragraph 8 of the
14   Protective Order (Dkt. 59), Plaintiff is contemporaneously filing redacted, unsealed versions
15   of the Report as Exhibit 1 to its concurrently filed Supplement.
16
17          RESPECTFULLY SUBMITTED this 5th day of November, 2021.
18                                                HAGENS BERMAN SOBOL SHAPIRO LLP
19
                                                  By s/ Leonard W. Aragon
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